DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                    Doc 27          Filed 06/24/22           Page 1 of 45




     Fill in this information to identify the case:

     Debtor name        SanityDesk, Inc.

     United States Bankruptcy Court for the:    DISTRICT OF DELAWARE

     Case number (if known)    22-10527-JTD
                                                                                                                                Check if this is an
                                                                                                                                    amended filing



    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
    form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
    amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
    and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                 Declaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                  Schedule H: Codebtors (Official Form 206H)

                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.
                                 6/24/2022
           Executed on                                       X
                                                                 Signature of individual signing on behalf of debtor

                                                                 Mark Zollner
                                                                 Printed name

                                                                 Interim CEO
                                                                 Position or relationship to debtor




    Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                   Doc 27          Filed 06/24/22                Page 2 of 45


  Fill in this information to identify the case:
  Debtor name SanityDesk, Inc.
  United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                            Check if this is an

  Case number (if known):        22-10527-JTD                                                                                                 amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
 Are Not Insiders                                                                           12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
 debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
 include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  2Enable Partners                                                                                                                                              $105,095.89
  VIII LP
  850 Washington
  Street, Suite 220
  Dedham, MA 02026
  Brex Inc.                                                                                                                                                       $57,976.85
  110 South Park
  Street
  San Francisco, CA
  94107
  CAPCHASE INC                                                                                                                                                  $157,931.86
  386 Park Ave S
  New York, NY 10016
  Carsted Rosenberg                                                                                                                                               $20,320.00
  Advokatfirma GmbH
  Bahnhofstrasse 2
  6060 Sarnen
  Switzerland
  CFT Clear Finance                                                                                                                                             $147,950.05
  Technology Corp.
  1055 West Hastings
  Street Suite 1700
  Vancouver
  British Columbia
  V6E 2E9
  Canada
  Dmytro Leonov                                                                                                                                                     $8,188.00
  MAKSYMOVYCHA
  ST
  3 LVIV LVIV
  79031
  Ukraine
  Facebook                                                                                                                                                      $191,604.77
  1601 Willow Rd
  Menlo Park, CA
  94025



 Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                   Doc 27          Filed 06/24/22                Page 3 of 45



  Debtor    SanityDesk, Inc.                                                                          Case number (if known)         22-10527-JTD
            Name

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  Fundbox Supplier                                                                                                                                                $36,326.36
  300 Montgomery
  Stree
  San Francisco, CA
  94104
  James Cook Media                                                                                                                                                $51,291.71
  Inc. Inc
  501 Congress Ave
  Ste 150
  Austin, TX 78701
  JCM USA LLC                                                                                                                                                     $36,624.86
  501 Congress Ave
  Ste 150
  Austin, TX 78701
  Libertas Funding                                                              Disputed                    $257,416.50                        $0.00            $257,416.50
  LLC
  Attn:Randy Saluck
  411 West Putnam
  Ave Suite 220
  Greenwich, CT
  06380
  Long-term Loan                                                                                                                                                  $37,700.00
  Fluidlytix, LLC
  3002 Foxcreek Dr.
  Richardson, TX
  75082
  Meta Platforms. Inc                                                                                                                                             $67,422.05
  1601 Willow Rd
  Menlo Park, CA
  94025
  Pipe Technologies                                                                                                                                               $40,059.85
  Inc.
  360 NW 27th Street
  Miami, FL 33127
  Samuel P. Cook                                                                                                                                                  $50,172.17
  603 Lockwood Ct,
  Lake Charles, LA
  70605
  Stripe, Inc.                                                                                                                                                  $129,495.41
  354 Oyster Point
  Blvd South
  South San
  Francisco, CA 94080
  SVB                                                                                                                                                             $62,791.65
  255 Battery Street
  San Francisco, CA
  94111




 Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                   Doc 27          Filed 06/24/22                Page 4 of 45



  Debtor    SanityDesk, Inc.                                                                          Case number (if known)         22-10527-JTD
            Name

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  U.S. Small Business                                                           Disputed                     $34,900.00                        $0.00              $34,900.00
  Administration
  Office of Disaster
  Assistance
  14925 Kingsport Rd
  Fort Worth, TX
  76155
  Underovsky                                                                                                                                                        $9,273.00
  Krzysztof
  Grodzka 42/1,
  31-044
  Kraków
  Poland
  Wilhelmien van                                                                                                                                                  $10,183.90
  Nieuwenhuizen
  Story Marketing
  Studeio
  Stockenmatt 33
  Stalden Obwalden
  6063
  Switzerland




 Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                              Case 22-10527-JTD                                    Doc 27                Filed 06/24/22                         Page 5 of 45

     Fill in this information to identify the case:

     Debtor name           SanityDesk, Inc.

     United States Bankruptcy Court for the:                      DISTRICT OF DELAWARE

     Case number (if known)              22-10527-JTD
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                           amended filing



    Official Form 206Sum
    Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

     Part 1:     Summary of Assets


     1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          1a. Real property:
              Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

          1b. Total personal property:
              Copy line 91A from Schedule A/B.........................................................................................................................                      $         997,582.30

          1c. Total of all property:
              Copy line 92 from Schedule A/B...........................................................................................................................                     $         997,582.30


     Part 2:     Summary of Liabilities


     2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         332,316.50


     3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          3a. Total claim amounts of priority unsecured claims:
              Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

          3b. Total amount of claims of nonpriority amount of unsecured claims:
              Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       1,382,175.58


     4.   Total liabilities .......................................................................................................................................................
          Lines 2 + 3a + 3b                                                                                                                                                            $          1,714,492.08




     Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                    Case 22-10527-JTD              Doc 27       Filed 06/24/22         Page 6 of 45

     Fill in this information to identify the case:

     Debtor name        SanityDesk, Inc.

     United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

     Case number (if known)      22-10527-JTD
                                                                                                                           Check if this is an
                                                                                                                                 amended filing



    Official Form 206A/B
    Schedule A/B: Assets - Real and Personal Property                                                                                             12/15
    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
    Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
    which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
    or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
    the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
    additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
     schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
     debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
     Part 1:      Cash and cash equivalents
    1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes Fill in the information below.
          All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                                 debtor's interest

     3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
                Name of institution (bank or brokerage firm)         Type of account                  Last 4 digits of account
                                                                                                      number


                3.1.   Evolve Bank & Trust                            Checking                        2878                                        $233.63




                3.2.   SVB                                            Checking                        5277                                           $1.53




                3.3.   Chase                                          Checking                        6537                                           $0.89




                3.4.   PayPal                                                                                                               $11,185.20




                3.5.   Wise                                                                                                                        $73.62



     4.         Other cash equivalents (Identify all)


                4.1.   Stripe                                                                                                               $16,443.21




    Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                            page 1
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                     Case 22-10527-JTD                 Doc 27         Filed 06/24/22             Page 7 of 45

     Debtor            SanityDesk, Inc.                                                         Case number (If known) 22-10527-JTD
                       Name


     5.         Total of Part 1.                                                                                                      $27,938.08
                Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

     Part 2:           Deposits and Prepayments
    6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes Fill in the information below.
     7.         Deposits, including security deposits and utility deposits
                Description, including name of holder of deposit

     8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
                Description, including name of holder of prepayment


                8.1.     Regus Management Group LLC                                                                                        $192.10




                8.2.     Todd Boyum                                                                                                        $382.40




                8.3.     AirBnb                                                                                                            $445.34




                8.4.     Dmytro Leonov                                                                                                   $3,116.00




                8.5.     Oleksandr Golovan                                                                                               $1,000.00




                8.6.     Heap Inc.                                                                                                       $1,172.61




                8.7.     James Cook Media Inc., Inc.                                                                                    $82,025.68




                8.8.     Tyron Dizon                                                                                                     $1,000.00




     9.         Total of Part 2.                                                                                                      $89,334.13
                Add lines 7 through 8. Copy the total to line 81.

     Part 3:           Accounts receivable
    10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes Fill in the information below.
     11.        Accounts receivable

    Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                   page 2
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                   Case 22-10527-JTD                  Doc 27            Filed 06/24/22          Page 8 of 45

     Debtor       SanityDesk, Inc.                                                               Case number (If known) 22-10527-JTD
                  Name


               11a. 90 days old or less:                     1,095.00       -                                   0.00 = ....                  $1,095.00
                                           face amount                             doubtful or uncollectible accounts




               11b. Over 90 days old:                           598.00      -                                  0.00 =....                      $598.00
                                           face amount                             doubtful or uncollectible accounts



     12.       Total of Part 3.                                                                                                           $1,693.00
               Current value on lines 11a + 11b = line 12. Copy the total to line 82.

     Part 4:      Investments
    13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.
                                                                                                          Valuation method used   Current value of
                                                                                                          for current value       debtor's interest

     14.       Mutual funds or publicly traded stocks not included in Part 1
               Name of fund or stock:

     15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
               partnership, or joint venture
               Name of entity:                                               % of ownership
                       SanityDesk LLC -Ukrainian company that
               15.1.   was fonded by SanityDesk Inc. (USA)                                          %                                       $15,000.00



     16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
               Describe:


     17.       Total of Part 4.                                                                                                         $15,000.00
               Add lines 14 through 16. Copy the total to line 83.

     Part 5:      Inventory, excluding agriculture assets
    18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

     Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
    27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

     Part 7:      Office furniture, fixtures, and equipment; and collectibles
    38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.
               General description                                              Net book value of         Valuation method used   Current value of
                                                                                debtor's interest         for current value       debtor's interest
                                                                                (Where available)
    Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 3
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                    Case 22-10527-JTD                   Doc 27         Filed 06/24/22          Page 9 of 45

     Debtor        SanityDesk, Inc.                                                               Case number (If known) 22-10527-JTD
                   Name



     39.        Office furniture

     40.        Office fixtures

     41.        Office equipment, including all computer equipment and
                communication systems equipment and software
                Computer monitors, PC's, Telephone, Laptop                                 $6,168.15                                              $0.00



     42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
                books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
                collections; other collections, memorabilia, or collectibles

     43.        Total of Part 7.                                                                                                                 $0.00
                Add lines 39 through 42. Copy the total to line 86.

     44.        Is a depreciation schedule available for any of the property listed in Part 7?
                 No
                 Yes
     45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
                 No
                 Yes
     Part 8:       Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

     Part 9:       Real property
    54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

     Part 10:      Intangibles and intellectual property
    59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.
                General description                                            Net book value of          Valuation method used   Current value of
                                                                               debtor's interest          for current value       debtor's interest
                                                                               (Where available)

     60.        Patents, copyrights, trademarks, and trade secrets

     61.        Internet domain names and websites

     62.        Licenses, franchises, and royalties

     63.        Customer lists, mailing lists, or other compilations

     64.        Other intangibles, or intellectual property
                Intellectual Property                                                   $600,000.00                                        $496,666.77


                Capitalized start up costs                                              $121,279.65                                        $109,850.32


    Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                        page 4
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                    Case 22-10527-JTD                   Doc 27       Filed 06/24/22          Page 10 of 45

     Debtor        SanityDesk, Inc.                                                            Case number (If known) 22-10527-JTD
                   Name



     65.        Goodwill

     66.        Total of Part 10.                                                                                                         $606,517.09
                Add lines 60 through 65. Copy the total to line 89.

     67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
                 No
                 Yes
     68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                 No
                 Yes
     69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
                 No
                 Yes
     Part 11:      All other assets
    70. Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


     71.        Notes receivable
                Description (include name of obligor)
                                                                               7,000.00 -                                  0.00 =
                Loans to Samuel Cook                                  Total face amount     doubtful or uncollectible amount                   $7,000.00


                                                                                 100.00 -                                  0.00 =
                Pledged Common Stock                                  Total face amount     doubtful or uncollectible amount                     $100.00


                                                                              10,000.00 -                                  0.00 =
                Due from JCM USA LLC                                  Total face amount     doubtful or uncollectible amount                  $10,000.00


                                                                            120,000.00 -                                   0.00 =
                Promissory Note - Samuel P.N. Cook                    Total face amount     doubtful or uncollectible amount                 $120,000.00


                                                                              30,000.00 -                                  0.00 =
                Promissory Note - Mark Zollner                        Total face amount     doubtful or uncollectible amount                  $30,000.00


                Promissory Note - Oleksandr                                   30,000.00 -                                  0.00 =
                Golovan                                               Total face amount     doubtful or uncollectible amount                  $30,000.00


                                                                              60,000.00 -                                  0.00 =
                Promissory Note - Tyron Dyson                         Total face amount     doubtful or uncollectible amount                  $60,000.00



     72.        Tax refunds and unused net operating losses (NOLs)
                Description (for example, federal, state, local)

     73.        Interests in insurance policies or annuities
    Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                          page 5
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27       Filed 06/24/22       Page 11 of 45

     Debtor      SanityDesk, Inc.                                                        Case number (If known) 22-10527-JTD
                 Name



     74.      Causes of action against third parties (whether or not a lawsuit
              has been filed)

     75.      Other contingent and unliquidated claims or causes of action of
              every nature, including counterclaims of the debtor and rights to
              set off claims

     76.      Trusts, equitable or future interests in property

     77.      Other property of any kind not already listed Examples: Season tickets,
              country club membership

     78.      Total of Part 11.                                                                                                $257,100.00
              Add lines 71 through 77. Copy the total to line 90.

     79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




    Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                              page 6
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                         Case 22-10527-JTD                             Doc 27             Filed 06/24/22                 Page 12 of 45

     Debtor          SanityDesk, Inc.                                                                                    Case number (If known) 22-10527-JTD
                     Name



     Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form
          Type of property                                                                               Current value of                    Current value of real
                                                                                                         personal property                   property

     80. Cash, cash equivalents, and financial assets.
         Copy line 5, Part 1                                                                                            $27,938.08

     81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $89,334.13

     82. Accounts receivable. Copy line 12, Part 3.                                                                       $1,693.00

     83. Investments. Copy line 17, Part 4.                                                                             $15,000.00

     84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

     85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

     86. Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.                                                                                                   $0.00

     87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

     88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

     89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $606,517.09

     90. All other assets. Copy line 78, Part 11.                                                    +                $257,100.00

     91. Total. Add lines 80 through 90 for each column                                                            $997,582.30           + 91b.                      $0.00


     92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $997,582.30




    Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                       page 7
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                          Case 22-10527-JTD                    Doc 27           Filed 06/24/22        Page 13 of 45

     Fill in this information to identify the case:

     Debtor name          SanityDesk, Inc.

     United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

     Case number (if known)              22-10527-JTD
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing

    Official Form 206D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
    Be as complete and accurate as possible.
    1. Do any creditors have claims secured by debtor's property?
            No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
            Yes. Fill in all of the information below.
     Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
     2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
     2.1    2011-I Partners Trust                        Describe debtor's property that is subject to a lien                  $40,000.00               $40,000.00
            Creditor's Name

            1811 Kanola Road
            La Habra, CA 90631
            Creditor's mailing address                   Describe the lien

                                                         Is the creditor an insider or related party?
                                                          No
            Creditor's email address, if known            Yes
                                                         Is anyone else liable on this claim?
            Date debt was incurred                        No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number

            Do multiple creditors have an                As of the petition filing date, the claim is:
            interest in the same property?               Check all that apply
             No                                          Contingent
             Yes. Specify each creditor,                 Unliquidated
            including this creditor and its relative      Disputed
            priority.



     2.2    Libertas Funding LLC                         Describe debtor's property that is subject to a lien                $257,416.50                         $0.00
            Creditor's Name
            Attn:Randy Saluck
            411 West Putnam Ave Suite
            220
            Greenwich, CT 06380
            Creditor's mailing address                   Describe the lien

                                                         Is the creditor an insider or related party?
                                                          No
            Creditor's email address, if known            Yes
                                                         Is anyone else liable on this claim?
            Date debt was incurred                        No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number

            Do multiple creditors have an                As of the petition filing date, the claim is:
            interest in the same property?               Check all that apply


    Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                          Case 22-10527-JTD                   Doc 27           Filed 06/24/22         Page 14 of 45

     Debtor       SanityDesk, Inc.                                                                      Case number (if known)      22-10527-JTD
                  Name

             No                                         Contingent
             Yes. Specify each creditor,                Unliquidated
            including this creditor and its relative
            priority.
                                                         Disputed


            U.S. Small Business
     2.3                                                                                                                          $34,900.00                   $0.00
            Administration                              Describe debtor's property that is subject to a lien
            Creditor's Name
            Office of Disaster
            Assistance
            14925 Kingsport Rd
            Fort Worth, TX 76155
            Creditor's mailing address                  Describe the lien

                                                        Is the creditor an insider or related party?
                                                         No
            Creditor's email address, if known           Yes
                                                        Is anyone else liable on this claim?
            Date debt was incurred                       No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number

            Do multiple creditors have an               As of the petition filing date, the claim is:
            interest in the same property?              Check all that apply
             No                                         Contingent
             Yes. Specify each creditor,                Unliquidated
            including this creditor and its relative
            priority.
                                                         Disputed


     3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $332,316.50

     Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
     assignees of claims listed above, and attorneys for secured creditors.

     If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
             Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                                   you enter the related creditor?   account number for
                                                                                                                                                     this entity




    Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                      Case 22-10527-JTD                     Doc 27            Filed 06/24/22                 Page 15 of 45

     Fill in this information to identify the case:

     Debtor name        SanityDesk, Inc.

     United States Bankruptcy Court for the:         DISTRICT OF DELAWARE

     Case number (if known)          22-10527-JTD
                                                                                                                                                        Check if this is an
                                                                                                                                                           amended filing


    Official Form 206E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
    Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
    2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

     Part 1:      List All Creditors with PRIORITY Unsecured Claims

           1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

               No. Go to Part 2.
               Yes. Go to line 2.

     Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
           3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
              out and attach the Additional Page of Part 2.
                                                                                                                                                           Amount of claim

     3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $105,095.89
               2Enable Partners VIII LP                                           Contingent
               850 Washington Street, Suite 220                                   Unliquidated
               Dedham, MA 02026                                                   Disputed
               Date(s) debt was incurred
                                                                                 Basis for the claim:
               Last 4 digits of account number
                                                                                 Is the claim subject to offset?    No  Yes
     3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $2,447.59
               Alex Portugal                                                      Contingent
               223 W 105th 5RE                                                    Unliquidated
               New York, NY 10025                                                 Disputed
               Date(s) debt was incurred
                                                                                 Basis for the claim:
               Last 4 digits of account number
                                                                                 Is the claim subject to offset?    No  Yes
     3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $5,690.33
               Alina Kvashenko
               Voznesensk, 56500, Oktyabrskoy                                     Contingent
               Revolyutsii St, 232, Apt.6                                         Unliquidated
               Mykolaiv region                                                    Disputed
               Ukraine
                                                                                 Basis for the claim:
               Date(s) debt was incurred
               Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
     3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $3,375.24
               Amazon Web Services, Inc.                                          Contingent
               410 Terry Ave North                                                Unliquidated
               Seattle, WA 98109-5210                                             Disputed
               Date(s) debt was incurred
                                                                                 Basis for the claim:
               Last 4 digits of account number
                                                                                 Is the claim subject to offset?    No  Yes




    Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 11
                                                                                                               51816
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27           Filed 06/24/22                 Page 16 of 45

     Debtor      SanityDesk, Inc.                                                                Case number (if known)            22-10527-JTD
                 Name

     3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,121.00
              Anastasiia Shpak                                           Contingent
              Khreshchatyk St                                            Unliquidated
              26, Cherkasy                                               Disputed
              Ukraine, 18031
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,350.00
              Anirban Sengupta
              Proprietor                                                 Contingent
              ASG Marketing Services                                     Unliquidated
              216Q, N.S.C Bose Road                                      Disputed
              Kolkata-700047
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,636.00
              Anna Lomsadze
              6 Rcheulishvili street                                     Contingent
              Mtatsminda district                                        Unliquidated
              Tbilisi                                                    Disputed
              Georgia
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,412.00
              Anna Tereshchenko
              Olimpiiska 1B                                              Contingent
              17, Brovary                                                Unliquidated
              07403                                                      Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,919.00
              Antonio Sclafani                                           Contingent
              240 W Fairway Rd                                           Unliquidated
              Henderson, NV 89015                                        Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,205.00
              Anujin de Bergevin                                         Contingent
              3 boulevard du parc impérial                               Unliquidated
              06000 NICE                                                 Disputed
              France
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $57,976.85
              Brex Inc.                                                  Contingent
              110 South Park Street                                      Unliquidated
              San Francisco, CA 94107                                    Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes

    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27           Filed 06/24/22                 Page 17 of 45

     Debtor      SanityDesk, Inc.                                                                Case number (if known)            22-10527-JTD
                 Name

     3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $157,931.86
              CAPCHASE INC                                               Contingent
              386 Park Ave S                                             Unliquidated
              New York, NY 10016                                         Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $20,320.00
              Carsted Rosenberg Advokatfirma GmbH                        Contingent
              Bahnhofstrasse 2                                           Unliquidated
              6060 Sarnen                                                Disputed
              Switzerland
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,725.00
              Cecil Madrid                                               Contingent
              1726, Modesto Str.,                                        Unliquidated
              Malate, Manila                                             Disputed
              Philippines 1004
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $147,950.05
              CFT Clear Finance Technology Corp.
              1055 West Hastings Street Suite 1700                       Contingent
               Vancouver                                                 Unliquidated
              British Columbia V6E 2E9                                   Disputed
              Canada
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,175.00
              Charlie Govea
              Circuito Bosque del Roble 341                              Contingent
              Col. Bosques del Mineral                                   Unliquidated
              Pachuca, Hidalgo                                           Disputed
              Mexico
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,158.50
              David Giang                                                Contingent
              Anderstorpsvägen 37, 335 33                                Unliquidated
              Gnosjö                                                     Disputed
              Sweden
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $8,188.00
              Dmytro Leonov
              MAKSYMOVYCHA ST                                            Contingent
              3 LVIV LVIV                                                Unliquidated
              79031                                                      Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes

    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27           Filed 06/24/22                 Page 18 of 45

     Debtor      SanityDesk, Inc.                                                                Case number (if known)            22-10527-JTD
                 Name

     3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,456.00
              Dmytro Prusov                                              Contingent
              Anishchenko St., 14, apt. 32                               Unliquidated
              Kyiv                                                       Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $900.00
              Egle Puidokaite
              14 rue George Sand                                         Contingent
              Palaiseau                                                  Unliquidated
              91120                                                      Disputed
              France
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $191,604.77
              Facebook                                                   Contingent
              1601 Willow Rd                                             Unliquidated
              Menlo Park, CA 94025                                       Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $8,114.00
              Filip Zarebinski                                           Contingent
              os. Kazimierzowskie 33/37                                  Unliquidated
              31-844 Kraków                                              Disputed
              Poland
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $36,326.36
              Fundbox Supplier                                           Contingent
              300 Montgomery Stree                                       Unliquidated
              San Francisco, CA 94104                                    Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $450.00
              Gary Christensen                                           Contingent
              756 Avenida Majorca Unit B                                 Unliquidated
              Laguna Woods, CA 92637                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,314.00
              GoCloud                                                    Contingent
              Krzyzówki 13B/27                                           Unliquidated
              03-193 Warszawa                                            Disputed
              Poland
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 4 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27           Filed 06/24/22                 Page 19 of 45

     Debtor      SanityDesk, Inc.                                                                Case number (if known)            22-10527-JTD
                 Name

     3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,121.00
              Hanna Goldie                                               Contingent
              Zavodska street, 7, apt 19                                 Unliquidated
              Zhovti Vody                                                Disputed
              Ukraine, 52200
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $6,955.00
              Jake Marvin Alim
              Block 5 Lot 13 Carissa 4B                                  Contingent
              Brgy. Kaypian,                                             Unliquidated
              Cijakejakety of San Jose del Monte                         Disputed
               Bulacan, Philippine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $51,291.71
              James Cook Media Inc. Inc                                  Contingent
              501 Congress Ave Ste 150                                   Unliquidated
              Austin, TX 78701                                           Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $6,956.85
              James Cook Media Inc. Inc                                  Contingent
              501 Congress Ave Ste 150                                   Unliquidated
              Austin, TX 78701                                           Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $36,624.86
              JCM USA LLC                                                Contingent
              501 Congress Ave Ste 150                                   Unliquidated
              Austin, TX 78701                                           Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $4,420.60
              JungleWP Limited (Pedro Paquemar)
              21/F, On Hing Building, 1 On Hing                          Contingent
              Terrace                                                    Unliquidated
              Hong Kong                                                  Disputed
              China
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,850.00
              Kate Virchenko                                             Contingent
              Hrushevskogo 2, housing 1, fl. 24                          Unliquidated
              Poltava 36021                                              Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes



    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27           Filed 06/24/22                 Page 20 of 45

     Debtor      SanityDesk, Inc.                                                                Case number (if known)            22-10527-JTD
                 Name

     3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,490.95
              Kateryna Sliusar                                           Contingent
              Nauky Av, 53, Apt 52                                       Unliquidated
              Kharkiw                                                    Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $4,637.00
              Krzysztof Wichowski
              ul. Andrzeja Struga 1                                      Contingent
              35-328                                                     Unliquidated
              Rzeszów                                                    Disputed
              Poland
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $37,700.00
              Long-term Loan Fluidlytix, LLC                             Contingent
              3002 Foxcreek Dr.                                          Unliquidated
              Richardson, TX 75082                                       Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,423.00
              Mariia Prylypko
              Tyraspolska 60                                             Contingent
              ap. 640                                                    Unliquidated
              Kyiv                                                       Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $3,846.00
              Mark Zollner                                               Contingent
              al. Jerozolimskie 85 lok.21                                Unliquidated
              02-001 Warszawa                                            Disputed
              Poland
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $67,422.05
              Meta Platforms. Inc                                        Contingent
              1601 Willow Rd                                             Unliquidated
              Menlo Park, CA 94025                                       Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,375.00
              Networking Made Simple
              Suite 6, HQ1                                               Contingent
              Abbey St, Tralee                                           Unliquidated
              Kerry                                                      Disputed
              Ireland
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes


    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27           Filed 06/24/22                 Page 21 of 45

     Debtor      SanityDesk, Inc.                                                                Case number (if known)            22-10527-JTD
                 Name

     3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $4,197.00
              Olena Ahamirova                                            Contingent
              Odeska reg, c. Yuzhne, Hr.                                 Unliquidated
              Desanta str. 19, app.25                                    Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,882.00
              Olena Zhovtivska
              22000, Vinniysia region                                    Contingent
              Khmilnyk city, prospekt Svobody                            Unliquidated
              11, Ap. 26                                                 Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $3,263.00
              Olga Batiukova
              29, A. Malyshko, ap. 81                                    Contingent
              Kyiv                                                       Unliquidated
              Ukraine                                                    Disputed
              02192
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,035.00
              Olha Dolinska                                              Contingent
              Leontovycha str, 5                                         Unliquidated
              Khmelnyskyi                                                Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $7,456.00
              Olha Karpunets                                             Contingent
              Polonne city, Shevchenko Str., 7                           Unliquidated
              Khmelnytskyi region                                        Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $269.10
              ORANGE SQUASH AGENCY
              Wood View                                                  Contingent
              Kimbolton Road, Hail Weston                                Unliquidated
              Cambridgeshire, PE19 5LB                                   Disputed
              United Kingdom
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $40,059.85
              Pipe Technologies Inc.                                     Contingent
              360 NW 27th Street                                         Unliquidated
              Miami, FL 33127                                            Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes

    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27           Filed 06/24/22                 Page 22 of 45

     Debtor      SanityDesk, Inc.                                                                Case number (if known)            22-10527-JTD
                 Name

     3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $5,907.40
              Resort Homecare                                            Contingent
              12/6 Beerburrum Street                                     Unliquidated
              Caloundra QLD 4551                                         Disputed
              Australia
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $855.00
              Ruben van der Drift
              Carrer de Muntaner                                         Contingent
              25 Sobreático 1a 08011                                     Unliquidated
              Barcelona                                                  Disputed
              Spain
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,371.00
              S.P.R.L Our New Earth ONE                                  Contingent
              46 rue Theys                                               Unliquidated
              6238 Luttre Sanity Desk                                    Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $56.14
              Samuel P. Cook                                             Contingent
              603 Lockwood Ct,                                           Unliquidated
              Lake Charles, LA 70605                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $50,172.17
              Samuel P. Cook                                             Contingent
              603 Lockwood Ct,                                           Unliquidated
              Lake Charles, LA 70605                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $312.00
              Semenova Natalya                                           Contingent
              Urlivska St. 8-14                                          Unliquidated
              Kyiv 02095                                                 Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $5,017.00
              Serhii Sova                                                Contingent
              29D, Nizhynska                                             Unliquidated
              Kyiv, 03058                                                Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27           Filed 06/24/22                 Page 23 of 45

     Debtor      SanityDesk, Inc.                                                                Case number (if known)            22-10527-JTD
                 Name

     3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,250.00
              Sidewinder Digital                                         Contingent
              9a Opal Drive                                              Unliquidated
              Papamoa 3118                                               Disputed
              New Zealand
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,287.00
              Sofia Neroda                                               Contingent
              ZELENA 33/6                                                Unliquidated
              LOKACHI 45500                                              Disputed
              UKRAINE
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,550.00
              Sofia Ostrova
              Bal'zaka St, 26a                                           Contingent
              apt 20                                                     Unliquidated
               Kiev                                                      Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,857.00
              Sofia Shyshovska                                           Contingent
              Kakhovskaya street 62A, app. 66                            Unliquidated
              Kyiv                                                       Disputed
              Ukraine
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,796.00
              Stanislav Kovalenko                                        Contingent
              Mykoly Bazhana Ave, 7?, 225                                Unliquidated
              Kyiv                                                       Disputed
              Ukraine, 02000
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $129,495.41
              Stripe, Inc.                                               Contingent
              354 Oyster Point Blvd South                                Unliquidated
              South San Francisco, CA 94080                              Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $62,791.65
              SVB                                                        Contingent
              255 Battery Street                                         Unliquidated
              San Francisco, CA 94111                                    Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes



    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 9 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27           Filed 06/24/22                 Page 24 of 45

     Debtor      SanityDesk, Inc.                                                                Case number (if known)            22-10527-JTD
                 Name

     3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,710.65
              Thomas Edward Payne                                        Contingent
              1833 S. Cholla                                             Unliquidated
              Mesa, AZ 85202                                             Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $7,782.00
              Tyron Dizon                                                Contingent
              1744 Modesto Street Malate                                 Unliquidated
              Manila Philippines 1004                                    Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $9,273.00
              Underovsky Krzysztof                                       Contingent
              Grodzka 42/1, 31-044                                       Unliquidated
              Kraków                                                     Disputed
              Poland
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $3,727.00
              Vladyslava Rogachenko                                      Contingent
              Dehtyarivska, 49A                                          Unliquidated
              Kyiv 03113                                                 Disputed
              Ukriane
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $5,654.30
              VM Design                                                  Contingent
              8 Taber St.                                                Unliquidated
              Carleton Place K7C 0H2                                     Disputed
              Canada
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $10,183.90
              Wilhelmien van Nieuwenhuizen
              Story Marketing Studeio                                    Contingent
              Stockenmatt 33                                             Unliquidated
              Stalden Obwalden 6063                                      Disputed
              Switzerland
                                                                        Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,898.55
              Wistia                                                     Contingent
              120 Brookline St.                                          Unliquidated
              Cambridge, MA 02139                                        Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes



    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                    Case 22-10527-JTD                      Doc 27           Filed 06/24/22                 Page 25 of 45

     Debtor       SanityDesk, Inc.                                                                      Case number (if known)            22-10527-JTD
                  Name

     3.68      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                $5,260.00
               Yaroslav Grobovenko
               Chernihiv region, Pryluky district                               Contingent
               Zaudaika village                                                 Unliquidated
               Street Yaroslav the Wise                                         Disputed
               Ukraine, 17540
                                                                               Basis for the claim:
               Date(s) debt was incurred
               Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
     3.69      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                  $850.00
               Youcef Gourine                                                   Contingent
               Chokolivs'kyi Boulevard, 39,                                     Unliquidated
               Kiev, Kyiv city                                                  Disputed
               Ukraine
                                                                               Basis for the claim:
               Date(s) debt was incurred
               Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes

     Part 3:      List Others to Be Notified About Unsecured Claims

    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

               Name and mailing address                                                                 On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                        related creditor (if any) listed?               account number, if
                                                                                                                                                        any

     Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

    5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
     5a. Total claims from Part 1                                                                          5a.        $                             0.00
     5b. Total claims from Part 2                                                                          5b.    +   $                     1,382,175.58

     5c. Total of Parts 1 and 2
         Lines 5a + 5b = 5c.                                                                               5c.        $                        1,382,175.58




    Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 11
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                    Case 22-10527-JTD                  Doc 27        Filed 06/24/22            Page 26 of 45

     Fill in this information to identify the case:

     Debtor name        SanityDesk, Inc.

     United States Bankruptcy Court for the:      DISTRICT OF DELAWARE

     Case number (if known)      22-10527-JTD
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing


    Official Form 206G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
    Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

    1.      Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
    (Official Form 206A/B).

     2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

     2.1.         State what the contract or           Sales Executive
                  lease is for and the nature of
                  the debtor's interest

                     State the term remaining
                                                                                         Alex Portugal
                  List the contract number of any                                        223 W 105th 5RE
                        government contract                                              New York, NY 10025


     2.2.         State what the contract or           Product Designer
                  lease is for and the nature of
                  the debtor's interest
                                                                                         Alina Kvashenko
                     State the term remaining                                            Voznesensk, 56500, Oktyabrskoy
                                                                                         Revolyutsii St, 232, Apt.6
                  List the contract number of any                                        Mykolaiv region
                        government contract                                              Ukraine


     2.3.         State what the contract or           People manager
                  lease is for and the nature of
                  the debtor's interest

                     State the term remaining

                  List the contract number of any                                        Anastasiia Shpak
                        government contract


     2.4.         State what the contract or           Junior Marketing
                  lease is for and the nature of       Manager
                  the debtor's interest
                                                                                         Anna Lomsadze
                     State the term remaining                                            6 Rcheulishvili street
                                                                                         Mtatsminda district
                  List the contract number of any                                        Tbilisi
                        government contract                                              Georgia




    Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 7
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                              Case 22-10527-JTD                   Doc 27    Filed 06/24/22         Page 27 of 45
     Debtor 1 SanityDesk, Inc.                                                         Case number (if known)   22-10527-JTD
              First Name         Middle Name          Last Name



             Additional Page if You Have More Contracts or Leases

     2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired
                                                                           lease

     2.5.     State what the contract or        Custormer Success
              lease is for and the nature of    Manager
              the debtor's interest
                                                                               Anna Tereshchenko
                 State the term remaining                                      Olimpiiska 1B
                                                                               17, Brovary
              List the contract number of any                                  07403
                    government contract                                        Ukraine


     2.6.     State what the contract or        Head of Sales
              lease is for and the nature of    Managers
              the debtor's interest

                 State the term remaining
                                                                               Antonio Sclafani
              List the contract number of any                                  240 W Fairway Rd
                    government contract                                        Henderson, NV 89015


     2.7.     State what the contract or        Sales Development
              lease is for and the nature of    Representative
              the debtor's interest
                                                                               Anujin de Bergevin
                 State the term remaining                                      3 boulevard du parc impérial
                                                                               06000 NICE
              List the contract number of any                                  France
                    government contract


     2.8.     State what the contract or        Technical Support
              lease is for and the nature of    Manager
              the debtor's interest
                                                                               Cecil Madrid
                 State the term remaining                                      1726, Modesto Str.,
                                                                               Malate, Manila
              List the contract number of any                                  Philippines 1004
                    government contract


     2.9.     State what the contract or        Sales Executive
              lease is for and the nature of
              the debtor's interest
                                                                               David Giang
                 State the term remaining                                      Anderstorpsvägen 37, 335 33
                                                                               Gnosjö
              List the contract number of any                                  Sweden
                    government contract


     2.10.    State what the contract or        Senior Product
              lease is for and the nature of    Designer                       Dmytro Leonov
              the debtor's interest                                            MAKSYMOVYCHA ST
                                                                               3 LVIV LVIV
                 State the term remaining                                      79031
                                                                               Ukraine

    Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 7
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                              Case 22-10527-JTD                   Doc 27    Filed 06/24/22         Page 28 of 45
     Debtor 1 SanityDesk, Inc.                                                         Case number (if known)   22-10527-JTD
              First Name         Middle Name          Last Name



             Additional Page if You Have More Contracts or Leases

     2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired
                                                                           lease

              List the contract number of any
                    government contract


     2.11.    State what the contract or        Middle Back-End
              lease is for and the nature of    Developer
              the debtor's interest
                                                                               Dmytro Prusov
                 State the term remaining                                      Anishchenko St., 14, apt. 32
                                                                               Kyiv
              List the contract number of any                                  Ukraine
                    government contract


     2.12.    State what the contract or        Custormer Success
              lease is for and the nature of    Manager
              the debtor's interest
                                                                               Egle Puidokaite
                 State the term remaining                                      14 rue George Sand
                                                                               Palaiseau
              List the contract number of any                                  91120
                    government contract                                        France


     2.13.    State what the contract or        VP of Engineering
              lease is for and the nature of
              the debtor's interest
                                                                               Filip Zarebinski
                 State the term remaining                                      os. Kazimierzowskie 33/37
                                                                               31-844 Kraków
              List the contract number of any                                  Poland
                    government contract


     2.14.    State what the contract or        Customer Support
              lease is for and the nature of    Manager
              the debtor's interest
                                                                               Hanna Goldie
                 State the term remaining                                      Zavodska street, 7, apt 19
                                                                               Zhovti Vody
              List the contract number of any                                  Ukraine, 52200
                    government contract


     2.15.    State what the contract or        Senior Infrastructure
              lease is for and the nature of    Developer
              the debtor's interest
                                                                               Jake Marvin Alim
                 State the term remaining                                      Block 5 Lot 13 Carissa 4B
                                                                               Brgy. Kaypian
              List the contract number of any                                  City of San Jose del Monte, Bulacan
                    government contract                                         Philippines




    Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 3 of 7
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                              Case 22-10527-JTD                   Doc 27    Filed 06/24/22         Page 29 of 45
     Debtor 1 SanityDesk, Inc.                                                         Case number (if known)   22-10527-JTD
              First Name         Middle Name          Last Name



             Additional Page if You Have More Contracts or Leases

     2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired
                                                                           lease

     2.16.    State what the contract or        Marketing Manager
              lease is for and the nature of
              the debtor's interest
                                                                               Kate Virchenko
                 State the term remaining                                      Hrushevskogo 2, housing 1, fl. 24
                                                                               Poltava 36021
              List the contract number of any                                  Ukraine
                    government contract


     2.17.    State what the contract or        Product Manager
              lease is for and the nature of
              the debtor's interest
                                                                               Kateryna Sliusar
                 State the term remaining                                      Nauky Av, 53, Apt 52
                                                                               Kharkiw
              List the contract number of any                                  Ukraine
                    government contract


     2.18.    State what the contract or        Middle Full Stack
              lease is for and the nature of    Developer
              the debtor's interest
                                                                               Krzysztof Wichowski
                 State the term remaining                                      ul. Andrzeja Struga 1
                                                                               35-328
              List the contract number of any                                  Rzeszów
                    government contract                                        Poland


     2.19.    State what the contract or        Custormer Success
              lease is for and the nature of    Manager
              the debtor's interest
                                                                               Mariia Prylypko
                 State the term remaining                                      Tyraspolska 60
                                                                               ap. 640
              List the contract number of any                                  Kyiv
                    government contract                                        Ukraine


     2.20.    State what the contract or        Interim CEO
              lease is for and the nature of
              the debtor's interest
                                                                               Mark Zollner
                 State the term remaining                                      al. Jerozolimskie 85 lok.21
                                                                               02-001 Warszawa
              List the contract number of any                                  Poland
                    government contract


     2.21.    State what the contract or        Head of Customer
              lease is for and the nature of    Success Managers               Olena Ahamirova
              the debtor's interest                                            Odeska reg, c. Yuzhne, Hr.
                                                                               Desanta str. 19, app.25
                 State the term remaining                                      Ukraine


    Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 4 of 7
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                              Case 22-10527-JTD                   Doc 27    Filed 06/24/22         Page 30 of 45
     Debtor 1 SanityDesk, Inc.                                                         Case number (if known)   22-10527-JTD
              First Name         Middle Name          Last Name



             Additional Page if You Have More Contracts or Leases

     2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired
                                                                           lease

              List the contract number of any
                    government contract


     2.22.    State what the contract or        Junior Accountant
              lease is for and the nature of
              the debtor's interest
                                                                               Olena Zhovtivska
                 State the term remaining                                      22000, Vinniysia region
                                                                               Khmilnyk city, prospekt Svobody
              List the contract number of any                                  11, Ap. 26
                    government contract                                        Ukraine


     2.23.    State what the contract or        Financial Manager
              lease is for and the nature of
              the debtor's interest
                                                                               Olga Batiukova
                 State the term remaining                                      29, A. Malyshko, ap. 81
                                                                               Kyiv
              List the contract number of any                                  Ukraine
                    government contract                                        02192


     2.24.    State what the contract or        Business Development
              lease is for and the nature of    Representative
              the debtor's interest
                                                                               Olha Dolinska
                 State the term remaining                                      Leontovycha str, 5
                                                                               Khmelnyskyi
              List the contract number of any                                  Ukraine
                    government contract


     2.25.    State what the contract or        Middle Front-End
              lease is for and the nature of    Developer
              the debtor's interest
                                                                               Olha Karpunets
                 State the term remaining                                      Polonne city, Shevchenko Str., 7
                                                                               Khmelnytskyi region
              List the contract number of any                                  Ukraine
                    government contract


     2.26.    State what the contract or        Tech Client Support
              lease is for and the nature of    Manager
              the debtor's interest
                                                                               Semenova Natalya
                 State the term remaining                                      Urlivska St. 8-14
                                                                               Kyiv 02095
              List the contract number of any                                  Ukraine
                    government contract




    Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 5 of 7
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                              Case 22-10527-JTD                   Doc 27    Filed 06/24/22         Page 31 of 45
     Debtor 1 SanityDesk, Inc.                                                         Case number (if known)   22-10527-JTD
              First Name         Middle Name          Last Name



             Additional Page if You Have More Contracts or Leases

     2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired
                                                                           lease

     2.27.    State what the contract or        Middle Front-End
              lease is for and the nature of    Developer
              the debtor's interest
                                                                               Serhii Sova
                 State the term remaining                                      29D, Nizhynska
                                                                               Kyiv, 03058
              List the contract number of any                                  Ukraine
                    government contract


     2.28.    State what the contract or        Affiliate & Partnership
              lease is for and the nature of    Manager
              the debtor's interest
                                                                               Sofia Neroda
                 State the term remaining                                      ZELENA 33/6
                                                                               LOKACHI 45500
              List the contract number of any                                  UKRAINE
                    government contract


     2.29.    State what the contract or        Product Manager
              lease is for and the nature of
              the debtor's interest
                                                                               Sofia Ostrova
                 State the term remaining                                      Bal'zaka St, 26a
                                                                               apt 20
              List the contract number of any                                   Kiev
                    government contract                                        Ukraine


     2.30.    State what the contract or        Senior Customer
              lease is for and the nature of    Success Manager
              the debtor's interest
                                                                               Sofia Shyshovska
                 State the term remaining                                      Kakhovskaya street 62A, app. 66
                                                                               Kyiv
              List the contract number of any                                  Ukraine
                    government contract


     2.31.    State what the contract or        Middle Back-End
              lease is for and the nature of    Developer
              the debtor's interest
                                                                               Stanislav Kovalenko
                 State the term remaining                                      Mykoly Bazhana Ave, 7?, 225
                                                                               Kyiv
              List the contract number of any                                  Ukraine, 02000
                    government contract


     2.32.    State what the contract or        Sales Development
              lease is for and the nature of    Representative
              the debtor's interest
                                                                               Thomas Edward Payne
                 State the term remaining                                      1833 S. Cholla
                                                                               Mesa, AZ 85202

    Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 6 of 7
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                              Case 22-10527-JTD                   Doc 27    Filed 06/24/22         Page 32 of 45
     Debtor 1 SanityDesk, Inc.                                                         Case number (if known)   22-10527-JTD
              First Name         Middle Name          Last Name



             Additional Page if You Have More Contracts or Leases

     2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired
                                                                           lease

              List the contract number of any
                    government contract


     2.33.    State what the contract or        Chief Product Officer
              lease is for and the nature of
              the debtor's interest

                 State the term remaining                                      Tyron Dizon
                                                                               1744 Modesto Street Malate
              List the contract number of any                                  Manila Philippines 1004
                    government contract


     2.34.    State what the contract or        VP of R&D
              lease is for and the nature of
              the debtor's interest
                                                                               Underovsky Krzysztof
                 State the term remaining                                      Grodzka 42/1, 31-044
                                                                               Kraków
              List the contract number of any                                  Poland
                    government contract


     2.35.    State what the contract or        Operations manager
              lease is for and the nature of
              the debtor's interest
                                                                               Vladyslava Rogachenko
                 State the term remaining                                      Dehtyarivska, 49A
                                                                               Kyiv 03113
              List the contract number of any                                  Ukriane
                    government contract


     2.36.    State what the contract or        Middle Full Stack
              lease is for and the nature of    Developer
              the debtor's interest
                                                                               Yaroslav Grobovenko
                 State the term remaining                                      Chernihiv region, Pryluky district
                                                                               Zaudaika village
              List the contract number of any                                  Street Yaroslav the Wise
                    government contract                                        Ukraine, 17540


     2.37.    State what the contract or        Junior Technical
              lease is for and the nature of    Support Manager
              the debtor's interest
                                                                               Youcef Gourine
                 State the term remaining                                      Chokolivs'kyi Boulevard, 39,
                                                                               Kiev, Kyiv city
              List the contract number of any                                  Ukraine
                    government contract




    Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 7 of 7
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                 Case 22-10527-JTD                 Doc 27        Filed 06/24/22            Page 33 of 45

     Fill in this information to identify the case:

     Debtor name      SanityDesk, Inc.

     United States Bankruptcy Court for the:   DISTRICT OF DELAWARE

     Case number (if known)   22-10527-JTD
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


    Official Form 206H
    Schedule H: Your Codebtors                                                                                                                      12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
    Additional Page to this page.

         1. Do you have any codebtors?

      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      Yes
      2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
         creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
         on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
               Column 1: Codebtor                                                                        Column 2: Creditor



               Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                                    that apply:
       2.1                                                                                                                         D
                                           Street                                                                                   E/F
                                                                                                                                   G
                                           City                   State         Zip Code


       2.2                                                                                                                         D
                                           Street                                                                                   E/F
                                                                                                                                   G
                                           City                   State         Zip Code


       2.3                                                                                                                         D
                                           Street                                                                                   E/F
                                                                                                                                   G
                                           City                   State         Zip Code


       2.4                                                                                                                         D
                                           Street                                                                                   E/F
                                                                                                                                   G
                                           City                   State         Zip Code




    Official Form 206H                                                     Schedule H: Your Codebtors                                            Page 1 of 1
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                 Case 22-10527-JTD                  Doc 27          Filed 06/24/22             Page 34 of 45




     Fill in this information to identify the case:

     Debtor name        SanityDesk, Inc.

     United States Bankruptcy Court for the:   DISTRICT OF DELAWARE

     Case number (if known)    22-10527-JTD
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



    Official Form 207
    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          04/22
    The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write the debtor’s name and case number (if known).

     Part 1:    Income

    1. Gross revenue from business

          None.
          Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                      Gross revenue
          which may be a calendar year                                                    Check all that apply                    (before deductions and
                                                                                                                                  exclusions)

          From the beginning of the fiscal year to filing date:                            Operating a business                            $544,272.03
          From 1/01/2022 to Filing Date
                                                                                           Other


          For prior year:                                                                  Operating a business                          $1,354,277.37
          From 1/01/2021 to 12/31/2021
                                                                                           Other


          For year before that:                                                            Operating a business                            $159,029.53
          From 1/01/2020 to 12/31/2020
                                                                                           Other

    2. Non-business revenue
       Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
       and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.
                                                                                          Description of sources of revenue       Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

          From the beginning of the fiscal year to filing date:
          From 1/01/2022 to Filing Date                                                   Evactuation help                                   $49,814.60


          For prior year:
          From 1/01/2021 to 12/31/2021                                                    Private Trainings                                  $73,272.09


          For year before that:
          From 1/01/2020 to 12/31/2020                                                    Expense Income                                     $32,016.81


     Part 2:    List Certain Transfers Made Before Filing for Bankruptcy


    Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                   Doc 27          Filed 06/24/22             Page 35 of 45
     Debtor      SanityDesk, Inc.                                                                    Case number (if known) 22-10527-JTD




    3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
       filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
       and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.
          Creditor's Name and Address                                   Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                              Check all that apply
          3.1.
                  See Attachment                                                                        $378,812.69            Secured debt
                                                                                                                               Unsecured loan repayments
                                                                                                                               Suppliers or vendors
                                                                                                                               Services
                                                                                                                               Other


    4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
       or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
       may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
       listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
       debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.
          Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
          Relationship to debtor

    5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
       a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None
          Creditor's name and address                      Describe of the Property                                         Date                Value of property


    6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
       of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
       debt.

          None
          Creditor's name and address                      Description of the action creditor took                          Date action was               Amount
                                                                                                                            taken

     Part 3:     Legal Actions or Assignments

    7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
       in any capacity—within 1 year before filing this case.

          None.
                  Case title                               Nature of case               Court or agency's name and                 Status of case
                  Case number                                                           address

    8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
       receiver, custodian, or other court-appointed officer within 1 year before filing this case.




    Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                    Doc 27        Filed 06/24/22              Page 36 of 45
     Debtor      SanityDesk, Inc.                                                                    Case number (if known) 22-10527-JTD



          None
          Custodian's name and Address                    Describe the property                                                   Value
          Stripe, Inc.                                                                                                                            $13,351.12
          354 Oyster Point Blvd South
          South San Francisco, CA 94080                   Case title                                                              Court name and address

                                                          Case number

                                                          Date of order or assignment




     Part 4:     Certain Gifts and Charitable Contributions

    9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
       the gifts to that recipient is less than $1,000

          None
                  Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value

          9.1.    The Borderland Foundation               Charity contribution for the Ukrainian
                                                          people affected by the war                                                              $17,661.00

                  Recipients relationship to debtor




     Part 5:     Certain Losses

    10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None
          Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
          how the loss occurred                                                                                                                          lost
                                                          If you have received payments to cover the loss, for
                                                          example, from insurance, government compensation, or
                                                          tort liability, list the total received.

                                                          List unpaid claims on Official Form 106A/B (Schedule
                                                          A/B: Assets – Real and Personal Property).

     Part 6:     Certain Payments or Transfers

    11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
        of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
        relief, or filing a bankruptcy case.

          None.




    Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                 Case 22-10527-JTD                  Doc 27          Filed 06/24/22             Page 37 of 45
     Debtor       SanityDesk, Inc.                                                                 Case number (if known) 22-10527-JTD



                    Who was paid or who received             If not money, describe any property transferred              Dates               Total amount or
                    the transfer?                                                                                                                      value
                    Address
          11.1.     Gellert Scali Busenkell
                    & Brown, LLC
                    1201 N. Orange St.
                    Suite 300
                    Wilmington, DE 19801                                                                                  5/31/2022               $61,500.00

                    Email or website address
                    mbusenkell@gsbblaw.com

                    Who made the payment, if not debtor?




          11.2.     Gellert Scali Busenkell
                    & Brown, LLC
                    1201 N. Orange St.
                    Suite 300
                    Wilmington, DE 19801                                                                                  5/3/2022                  $7,500.00

                    Email or website address
                    mbusenkell@gsbblaw.com

                    Who made the payment, if not debtor?




          11.3.     Gellert Scali Busenkell
                    & Brown, LLC
                    1201 N. Orange St.
                    Suite 300
                    Wilmington, DE 19801                                                                                  5/31/2022                 $6,000.00

                    Email or website address
                    mbusenkell@gsbblaw.com

                    Who made the payment, if not debtor?




          11.4.     CMBG Advisors Inc
                    12400 Wilshire Boulevard,
                    Suite 1180
                    Los Angeles, CA 90025                                                                                 3/1/2022                $10,000.00

                    Email or website address


                    Who made the payment, if not debtor?




    12. Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
        to a self-settled trust or similar device.
        Do not include transfers already listed on this statement.

          None.
          Name of trust or device                            Describe any property transferred                    Dates transfers             Total amount or
                                                                                                                  were made                            value


    Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                     Case 22-10527-JTD                Doc 27          Filed 06/24/22             Page 38 of 45
     Debtor       SanityDesk, Inc.                                                                   Case number (if known) 22-10527-JTD



    13. Transfers not already listed on this statement
        List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
        2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
        both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.
                   Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
                   Address                                 payments received or debts paid in exchange                was made                           value

     Part 7:      Previous Locations

    14. Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply
                    Address                                                                                             Dates of occupancy
                                                                                                                        From-To
          14.1.     16192 Coast Highway                                                                                 10/28/2019-6/21/2020
                    Lewes, DE 19958

     Part 8:      Health Care Bankruptcies

    15. Health Care bankruptcies
        Is the debtor primarily engaged in offering services and facilities for:
        - diagnosing or treating injury, deformity, or disease, or
        - providing any surgical, psychiatric, drug treatment, or obstetric care?

               No. Go to Part 9.
          Yes. Fill in the information below.

                    Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                           the debtor provides                                                        and housing, number of
                                                                                                                                      patients in debtor’s care

     Part 9:      Personally Identifiable Information

    16. Does the debtor collect and retain personally identifiable information of customers?

          No.
               Yes. State the nature of the information collected and retained.



                     Does the debtor have a privacy policy about that information?
                      No
                      Yes
    17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
        profit-sharing plan made available by the debtor as an employee benefit?

               No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?

     Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




    Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                    Doc 27         Filed 06/24/22             Page 39 of 45
     Debtor     SanityDesk, Inc.                                                                     Case number (if known) 22-10527-JTD




    18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.

          None
                   Financial Institution name and           Last 4 digits of           Type of account or           Date account was                  Last balance
                   Address                                  account number             instrument                   closed, sold,                 before closing or
                                                                                                                    moved, or                              transfer
                                                                                                                    transferred

    19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
        case.


          None
          Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                                 access to it                                                                      still have it?
                                                                 Address

    20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.


          None
          Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                                 access to it                                                                      still have it?


     Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

    21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
        not list leased or rented property.

         None

     Part 12:    Details About Environment Information

    For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
         medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
         owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
         similarly harmful substance.

    Report all notices, releases, and proceedings known, regardless of when they occurred.

    22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

               No.
          Yes. Provide details below.
          Case title                                             Court or agency name and              Nature of the case                          Status of case
          Case number                                            address

    23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?

    Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                 Doc 27          Filed 06/24/22               Page 40 of 45
     Debtor     SanityDesk, Inc.                                                                   Case number (if known) 22-10527-JTD



               No.
          Yes. Provide details below.
          Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                               address

    24. Has the debtor notified any governmental unit of any release of hazardous material?

               No.
          Yes. Provide details below.
          Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                               address

     Part 13:    Details About the Debtor's Business or Connections to Any Business

    25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.

          None
       Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                          Do not include Social Security number or ITIN.

                                                                                                          Dates business existed
       25.1.                                            Company in Ukraine was founded                    EIN:
                SanityDesk, LTD                                                                                        44039456
                                                        by SanityDesk Inc.
                                                                                                          From-To


    26. Books, records, and financial statements
        26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None
          Name and address                                                                                                                Date of service
                                                                                                                                          From-To
          26a.1.        Olga Batiukova                                                                                                    11/1/2019-present
                        29, A. Malyshko, ap. 81
                        Kyiv
                        Ukraine
                        02192
          26a.2.        Rogachenko Vladyslava                                                                                             4/26/2021-06/07/2022
                        Dehtyarivska, 49A
                        Kyiv 03113
                        Ukraine
          26a.3.        Olena Zhovtivska                                                                                                  02/08/2022-present
                        22000, Vinniysia region
                        Khmilnyk city, prospekt Svobody
                        11, Ap. 26
                        Ukraine

        26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
             within 2 years before filing this case.

                None
          Name and address                                                                                                                Date of service
                                                                                                                                          From-To
          26b.1.        ZTX Advisors LLC                                                                                                  06/17/2020-05/31/202
                        2931 Brookview Dr                                                                                                 2
                        Pearland, TX 77584


    Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 7
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                   Doc 27         Filed 06/24/22             Page 41 of 45
     Debtor     SanityDesk, Inc.                                                                    Case number (if known) 22-10527-JTD



        26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

               None
          Name and address                                                                               If any books of account and records are
                                                                                                         unavailable, explain why
          26c.1.        ZTX Advisors LLC
                        2931 Brookview Dr
                        Pearland, TX 77584
          26c.2.        Olena Zhovtivska
                        22000, Vinniysia region
                        Khmilnyk city, prospekt Svobody
                        11, Ap. 26
                        Ukraine
          26c.3.        Olga Batiukova
                        29, A. Malyshko, ap. 81
                        Kyiv
                        Ukraine
                        02192

        26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
             statement within 2 years before filing this case.

               None
          Name and address
          26d.1.        Brex Inc.
                        110 South Park Street
                        San Francisco, CA 94107
          26d.2.        Pipe Technologies Inc.
                        360 NW 27th Street
                        Miami, FL 33127
          26d.3.        Stripe, Inc.
                        354 Oyster Point Blvd South
                        South San Francisco, CA 94080
          26d.4.        Fundbox Supplier
                        300 Montgomery Stree
                        San Francisco, CA 94104
          26d.5.        CFT Clear Finance Technology Corp.
                        1055 West Hastings Street Suite 1700
                        Vancouver
                        British Columbia V6E 2E9
                        Canada
          26d.6.        SVB
                        255 Battery Street
                        San Francisco, CA 94111
          26d.7.        CAPCHASE INC
                        386 Park Ave S
                        New York, NY 10016
          26d.8.        2Enable Partners VIII LP
                        850 Washington Street, Suite 220
                        Dedham, MA 02026
          26d.9.        Evolve Bank & Truste
                        6070 Poplar Ave, Suite 200
                        Memphis, TN 38119
    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 8
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                 Case 22-10527-JTD                  Doc 27          Filed 06/24/22             Page 42 of 45
     Debtor     SanityDesk, Inc.                                                                   Case number (if known) 22-10527-JTD



          Name and address
          26d.10.       Chase
                        JPMorgan Chase Bank, N.A.
                        P O Box 182051
                        Columbus, OH 43218
          26d.11.       SVB
                        3003 Tasman Drive
                        Santa Clara, CA 95054

    27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?

              No
          Yes. Give the details about the two most recent inventories.
                 Name of the person who supervised the taking of the                    Date of inventory       The dollar amount and basis (cost, market,
                 inventory                                                                                      or other basis) of each inventory

    28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
        in control of the debtor at the time of the filing of this case.

          Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                     interest                                any
          Mark Zollner                           al. Jerozolimskie 85 lok.21                         Interim CEO
                                                 02-001 Warszawa
                                                 Poland
          Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                     interest                                any
          Olga Batiukova                         29, A. Malyshko, ap. 81                             Financial Manager
                                                 Kyiv
                                                 Ukraine
                                                 02192


    29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
        control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


              No
          Yes. Identify below.

    30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
        loans, credits on loans, stock redemptions, and options exercised?

              No
          Yes. Identify below.
                 Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                          property                                                                      providing the value

    31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

              No
          Yes. Identify below.
       Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                          corporation




    Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                  Case 22-10527-JTD                  Doc 27           Filed 06/24/22            Page 43 of 45
     Debtor     SanityDesk, Inc.                                                                    Case number (if known) 22-10527-JTD



    32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

               No
          Yes. Identify below.
       Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                           fund

     Part 14:   Signature and Declaration

         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
         connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.

         I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
         and correct.

         I declare under penalty of perjury that the foregoing is true and correct.
                        6/24/2022
     Executed on

                                                                    Mark Zollner
     Signature of individual signing on behalf of the debtor        Printed name

     Position or relationship to debtor   Interim CEO

    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
     No
     Yes




    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 10
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                Case 22-10527-JTD                  Doc 27        Filed 06/24/22            Page 44 of 45

                                                       United States Bankruptcy Court
                                                                   District of Delaware
     In re    SanityDesk, Inc.                                                                                Case No.      22-10527-JTD
                                                                               Debtor(s)                      Chapter       11

                                                   LIST OF EQUITY SECURITY HOLDERS
    Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

     Name and last known address or place of                 Security Class Number of Securities                         Kind of Interest
     business of holder
     Andrew Turner                                                               50,000



     Benoît Carpent                                                              25,000



     Bradley B. Furber                                                           200,000



     Brian Sweigart                                                              50,000



     David Gonzales                                                              50,000



     Ewa Wysocka                                                                 8,333



     Janice Orlando                                                              25,000



     Joel Trammell                                                               25,000



     Mark Zollner                                                                1,000,000
     al. Jerozolimskie 85 lok.21
     02-001 Warszawa
     Poland

     Mindy Nies                                                                  25,000



     Oleksandr Golovan                                                           1,000,000



     Ronald Lynch                                                                9,723



     Rory Kilmartin                                                              50,000




    Sheet 1 of 2 in List of Equity Security Holders
DocuSign Envelope ID: 044D80C3-9277-427B-8D78-54F371AB4158
                                 Case 22-10527-JTD                     Doc 27          Filed 06/24/22              Page 45 of 45


     In re:   SanityDesk, Inc.                                                                           Case No. 22-10527-JTD
                                                                                     Debtor(s)



                                                   LIST OF EQUITY SECURITY HOLDERS
                                                                       (Continuation Sheet)

     Name and last known address or place of                    Security Class Number of Securities                             Kind of Interest
     business of holder

     Samuel P. Cook                                                                   4,000,000
     603 Lockwood Ct,
     Lake Charles, LA 70605

     Sandor Hatvany                                                                   50,000



     Techstars                                                                        600,000



     Thomas Dorame                                                                    50,000



     Tony Orlando                                                                     50,000



     Travlin McCormack                                                                25,000



     Tyron Dizon                                                                      2,000,000
     1744 Modesto Street Malate
     Manila Philippines 1004

     Yuriy Bogun                                                                      16,667



    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

            I, the Interim CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have
    read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.


                  6/24/2022
     Date                                                                    Signature
                                                                                            Mark Zollner

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




    List of equity security holders consists of 2 total page(s)
